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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Criminal Action No. 1:12-cr-00033-JLK-01

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. JAMSHID MUHTOROV,

      Defendant.


       GOVERNMENT’S RESPONSE TO DEFENDANTS’ MOTION FOR
     EVIDENTIARY HEARING AND FOR COURT ORDER REQUIRING THE
     UNITED STATES MARSHALS AND COURT SECURITY OFFICERS TO
     RELEASE ALL REPORTS AND VIDEO SURVEILLANCE REGARDING
                      JUNE 14, 2018 INCIDENT


      The United States of America, by and through Greg Holloway, Assistant

United States Attorney for the District of Colorado, hereby responds to Defendant

Muhtorov’s Motion for Evidentiary Hearing and for Court Order Requiring the

United States Marshals and Court Security Officers to Release all Reports and

Video Surveillance Regarding June 14, 2018 Incident (Doc. # 1889) and states

as follows:

      The defendant’s motion implying that there is a “strong likelihood” for a

mistrial is manufactured out of security concerns created by the misconduct of

the defendant and his family. Concerns about security, especially in light of

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outbursts during trial by the defendant and his family, do not equate to “inherent

bias.” The jurors impacted by this incident did exactly as instructed by the Court

when improperly contacted by the defendant’s wife. They reported their

concerns to both the Court and security. There is no indication that the impacted

jurors talked about the facts of the case or that their evaluation of the facts in the

case would be impacted.


      While the government’s concern may be premature, the defendant’s

reasoning for a “strong likelihood” for a mistrial appears to blame the Court, court

security, and ultimately the jurors of bias without a basis in either fact or law. The

proper course of action is for the Court to investigate with each impacted juror

individually as to whether they can remain impartial as originally instructed by the

Court. So long as jurors indicate that they can remain impartial, there is no

grounds for them to be excused and there are no grounds for a mistrial. United

States v. Dehertogh, 696 F.3d 162, 164-167 (1st Cir. 2012) (no prejudice though

defendant’s alleged partner in crime was observing and smiling in courtroom

because court appropriately investigated the incident and jurors said they could

remain impartial); United States v. Kennedy, 707 F.3d 558, 569 (5th Cir 2013) (no

prejudice though defendant made improper contact with jurors outside courtroom

because each juror stated his or her ability to remain impartial).




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      When impacted jurors state an ability to be impartial, there is no basis for a

mistrial even in cases where jurors are threatened or confronted by a defendant’s

family members. United States v. Corrado, 304 F.3d 593, 604-05 (6th Cir. 2002)

(no prejudice thought 2 jurors felt anxiety as result of threatening phone calls

because they informed court they could be impartial); United States v. Harris-

Thompson, 751 F.3d 590, 598 (8th Cir. 2014) (no prejudice when jurors were

confronted by defendant’s family members because jurors claimed they could still

be impartial).


      Because deliberations have begun, the Court should inquire with the

affected jurors as to their ability to remain impartial. Neither party – the

defendant nor the government – should be permitted to ask questions of the

impacted jurors. While the evidentiary hearing requested by the defendant as to

the actions of the Court and court security may be useful to determine the

propriety of Mrs. Muhtorova’s contact with the impacted jurors, the government is

concerned that such a hearing is a disingenuous attempt to accuse the Court,

court security and the affected jurors of bias. Again, concerns about security do

not equate to bias especially in light of the actions of the defendant and his family

in this case.




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      WHEREFORE, the government requests the Court proceed in a manner

consistent as described above.

      Respectfully submitted this 18th day of June, 2018.


                                     ROBERT C. TROYER
                                     United States Attorney

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                          CERTIFICATE OF SERVICE

I hereby certify that on this 18th day of June, 2018, I electronically filed the
foregoing GOVERNMENT’S RESPONSE TO DEFENDANTS’ MOTION FOR
EVIDENTIARY HEARING AND FOR COURT ORDER REQUIRING THE
UNITED STATES MARSHALS AND COURT SECURITY OFFICERS TO
RELEASE ALL REPORTS AND VIDEO SURVEILLANCE REGARDING JUNE
14, 2018 INCIDENT with the Clerk of Court using the CM/ECF system which will
send notification of such filing to the following email addresses:


Mitchell Baker    mitchbaker@estreet.com, emboehme@gmail.com

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                                      s/Greg Holloway
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